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                  Exhibit 34
6/5/25, 12:14 AM     Case 1:25-cv-11472-ADB
                                    State begins rollingDocument       54-6 visaFiled
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     EXCLUSIVE




     State begins rolling out expanded student visa vetting — starting with

     Harvard

     The State Department issued instructions to consulates and embassies late Thursday telling them to start the
     vetting immediately.




            The State Department said the Harvard review process “will also serve as a pilot for expanded screening

            and vetting of visa applicants” and that “this pilot will be expanded over time." | Scott Eisen/Getty Images




            By     NAHAL   TOOSI    and   ERIC    BAZAIL-EIMIL

            05/30/2025      09:29   AM    EDT

            Updated:     05/30/2025       10:09   AM   EDT




https://www.politico.com/news/2025/05/30/state-implements-reviews-of-harvard-visa-applicants-social-media-accounts-00375921       1/5
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            The State Department has told U.S. consulates and embassies to immediately
            begin reviewing the social media accounts of Harvard’s student visa applicants
            for antisemitism in what it called a pilot program that could be rolled out for
            colleges nationwide.

            The cable signed by Secretary of State Marco Rubio, obtained by POLITICO,
            was sent late Thursday. It says consular officers should “conduct a complete
            screening of the online presence of any nonimmigrant visa applicant seeking to
            travel to Harvard University for any purpose.” The policy, while primarily
            affecting students, will also include faculty members, researchers, staff
            members and guest speakers at Harvard.

                                                                   Advertisement




            The policy will take effect immediately, per the cable. The State Department
            did not immediately respond to a request for comment.


            The document puts into motion a proposal the Trump administration floated
            earlier this week for expanded social media vetting of all foreign students
            applying to U.S. colleges, pausing new appointments for student visa
            applicants in the meantime. Increased social media vetting did already exist,
            but it was previously primarily intended for returning students who may have
            participated in protests against Israel’s actions in Gaza.

            Notably, State Department leadership wants consular officers to consider
            “whether the lack of any online presence, or having social media accounts
            restricted to ‘private’ or with limited visibility, may be reflective of evasiveness
            and call into question the applicant’s credibility.” The cable also instructs
            consular officers to inform applicants with private social media accounts that
            they could be viewed as evading vetting and request they make their accounts
            public while the Fraud Prevention Unit reviews their case.




https://www.politico.com/news/2025/05/30/state-implements-reviews-of-harvard-visa-applicants-social-media-accounts-00375921   2/5
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            It also adds to the White House’s battle with elite academic institutions over
            alleged mishandling of cases of antisemitism during campus protests in
            response to Israel’s military operations in the Gaza Strip against militant group
            Hamas.

            The cable specifically identifies antisemitism and antisemitic viewpoints as the
            focus for consular officers but does not spell out what specifically would rise to
            the level of inadmissible antisemitism in the eyes of State Department
            leadership. It says that the Harvard review process “will also serve as a pilot for
            expanded screening and vetting of visa applicants” and that “this pilot will be
            expanded over time,” indicating it will likely reach other universities in the
            Trump administration’s crosshairs.

            The new guidance comes as the U.S. government continues its showdown with
            Harvard for alleged failures to address antisemitism on campus amid the
            Israel-Hamas war in the Gaza Strip. The federal government has stripped
            Harvard of billions in research funding and entered in dueling litigation with
            the Cambridge, Massachusetts, school. It had also suspended Harvard’s ability
            to enroll international students by briefly blocking visa applications before that
            decision was blocked by a federal judge.

            It also comes as the administration has targeted other academic communities,
            including Chinese nationals studying at U.S. colleges and universities. Rubio
            said Wednesday the administration would “aggressively revoke” visas of
            Chinese nationals studying in sensitive fields, the potential implementation of
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            which has flummoxed State Department officials.
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